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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Date:             December 7, 2018
   Courtroom Deputy: Emily Buchanan
   Court Reporter:   Mary George


    Civil Action No. 13-cv-01945-WJM-SKC                      Counsel:

    TYLER SANCHEZ,                                            John Culver
                                                              Adam Ray
                                                              Seth Benezra

          Plaintiff,

    v.

    MIKE DUFFY, Detective, in his individual capacity,        Kelly Dunnaway
    and                                                       Dawn Johnson
    HEATHER MYKES, Detective, in her individual               Megan Taggart
    capacity,

          Defendants.


                                  COURTROOM MINUTES


   Jury Trial: Day Ten

   8:48 a.m.     Court in session. Jury not present.

   All parties are present. Mr. Ray, Mr. Dunnaway, Ms. Johnson, and Ms. Taggart are
   present.

   Court informs counsel that a note was tendered to the Court yesterday at 4:50 p.m.
   indicating that the jury wished to conclude their deliberations for the day. Counsel
   agree no answer from the Court is necessary.

   8:51 a.m.     All eight members of the jury are present.

   8:52 a.m.     Jury excused to continue their deliberations.
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   Court Security Officer hands the Courtroom Deputy a note from the jury. Court takes a
   recess for counsel to review the jury’s question.

   8:53 a.m.    Court in recess.
   9:03 a.m.    Court in session.     Jury not present.

   Discussion held regarding the jury’s question.

   9:08 a.m.    Court in recess.
   12:22 p.m.   Court in session. Jury not present.

   All parties and counsel are present.

   12:25 p.m.   Jury present.

   Jury has reached a verdict.

   12:25 p.m.   Court reads verdict form.

   ORDERED: Verdict is received.

   ORDERED: Judgment shall enter in favor of defendants and against plaintiff. Costs
            are awarded to defendants.

   Court’s concluding remarks to the jury.

   12:29 p.m.   Jury excused with the thanks of the Court.

   Court’s concluding remarks to counsel and the parties.

   12:30 p.m.   Court in recess.

   Trial concluded.
   Total in-court time: 00:18

   Clerk’s Note: Exhibits and depositions have been returned to counsel.




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